Case: 1:17-md-02804-DAP Doc #: 1909-4 Filed: 07/19/19 1 of 15. PageID #: 87660




                        Exhibit 1
          Case: 1:17-md-02804-DAP Doc #: 1909-4 Filed: 07/19/19 2 of 15. PageID #: 87661
                                                                                  EXECUTION VERSION


                         SETTLEMENT AGREEMENT AND MUTUAL RELEASES

                This Settlement Agreement and Mutual Releases (the "Agreement") is entered into as of
         January 31, 2018 (the "Effective Date") by and between Teva Pharmaceutical Industries Ltd.
         ("Teva") and Allergan plc ("Allergan"). Teva and Allergan shall be referred to collectively as
         the "Parties" and individually as a "Party."

                                                     RECITALS

                WHEREAS, on July 26, 2015, the Parties entered into a Master Purchase Agreement
         which was amended by the First Amendment to the Master Purchase Agreement dated as of June
         9, 2016, the Second Amendment to the Master Purchase Agreement dated as of July 5, 2016 and
         the Third Amendment to the Master Purchase Agreement dated as of July 11, 2016 (the "MPA")
         through which Teva acquired the Business (the "Transaction") (capitalized terms used herein and
         not otherwise defined shall have the meanings ascribed thereto in the MPA);

               WHEREAS, on August 2, 2016 (the "Closing Date"), the Transaction closed and Teva
         became the owner of the Business;

                 WHEREAS, after the Closing Date, the Pa1ties initiated arbitration under Section 3.3 of
         the MP.A in response to Teva's claim for a purchase price adjustment of nearly $ 1.5 billion
         (inclusive of all Claims by either Party under Section 3.3 of the MP.A, the "Working Capital
         Dispute");

                WHEREAS, Teva and Allergan have made submissions to the Rep01ting Accountants in
         connection with the Working Capital Dispute (the "Submissions");

                 WHEREAS, on October 30, 2017, Teva asserted several claims for indemnification
         under Section 12.2 of the MPA ("October 2017 Notice"), including reiterating, restating, and
         updating claims for indemnification made on November 30, 2016 (such claims for
         indemnification, together with the claims for indemnification in the October 2017 Notice, the
         "Teva Asserted Claims") (the Teva Asserted Claims, collectively with any indemnification
         claims that Teva potentially could assert now or in the future under Section l 2.2(a)(i) or Section
         12.2(a)(iv) of the MPA, are referred to as the "Teva Indemnification Claims");

                WHEREAS, on November 2, 2017, Allergan asserted several claims for indemnification
         under Section 12.3 of the MPA (the "November 2017 Notice"), including reiterating, restating
         and updating claims for indemnification made on November 18, 2016 and July 13, 2017 (such
         claims for indemnification in the November 2017 Notice, the "Allergan Asserted Claims") (the
         Allergan Asse1ted Claims, collectively with any indemnification claims that Allergan potentially
         could assert now or in the future under Section 12.3(a)(i) of the MPA, are referred to as the
         "Allergan Indemnification Claims");

                 WHEREAS, by this Agreement, the Pa1ties desire to resolve any and all disputes arising
         out of, relating to, or in any way connected to the MPA, including but not limited to the Working
         Capital Dispute, the Teva Indemnification Claims and the Allergan Indemnification Claims, and
         to avoid future disputes under the MPA; it is the Parties' intention that, on and after the date
         hereof, (i) the only remedies available to Teva under the MPA are (A) indemnification under



CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                        ALLERGAN_MDL_SUPP_00000132



CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                 ALLERGAN_M DL_01396687
          Case: 1:17-md-02804-DAP Doc #: 1909-4 Filed: 07/19/19 3 of 15. PageID #: 87662




         Section 12.2(a)(ii) of the MPA for unknown breaches by Allergan of covenants that were
         intended to be perfonned by Allergan after the Closing, (B) indemnification under Section
         12.2(a)(iii) of the MPA (Excluded Liability), and (C) specific enforcement of Allergan's ongoing
         covenants; and (ii) the only remedies available to Allergan under the MPA are (A)
         indemnjfication under Section I 2.3(a)(ii) of the MPA for unknown breaches by Teva of
         covenants that were intended to be performed by Teva after the Closing, (B) indemnification
         under Section 12.3(a)(iii) (Assumed Liability) or Section 12.3(a)(iv) of the MPA (Liabilities and
         Claims relating to the operation of the Acquired Assets), and (C) specific enforcement of Teva's
         ongoing covenants;

                 WHEREAS, this Agreement is entered into for purposes of compromise and settlement
         only;

                 NOW, THEREFORE, in consideration of the foregoing, and the mutual promises and
         representations contained in this Agreement, and in exchange for other good and valuable
         consideration, the receipt and sufficiency of which are hereby acknowledged, and intending to be
         legally bound hereby, the Parties agree as follows:

                                     AGREEMENT AND MUTUAL RELEASES

         1. No Admissions. This Agreement is being entered into solely to avoid lengthy, costly and
            time-consuming disputes. By entering into this Agreement, no Pmty is admitting any
            liability or wrongdoing whatsoever, and each Patty continues to deny any and all liability and
            wrongdoing. This Agreement shall not be construed as an admission by either Patty as to the
            merits of any position adopted by the other Party.

         2. Dismissal of the Working Capital Dispute. Within two (2) Business Days of the Effective
            Date, the Parties shall jointly notify the Repmting Accountants that the Parties have reached
            an agreement in principle for the resolution of the Working Capital Dispute and that the
            Repo1ting Accountants should cease any and all activities relating to the Working Capital
            Dispute pending further instructions from the Parties. Within one (1) Business Day of the
            payment contemplated in Section 3 hereof, the Parties shall jointly notify the Reporting
            Accountants that the Working Capital Dispute has been finally and fully resolved and that the
            arbitration is tem1inated. The Parties shall split evenly any external costs or expenses
            associated with the Working Capital Dispute, including the fees and disbursements of the
            Reporting Accountants, but excluding the fees and expenses of the Parties' respective
            advisors. Upon payment of the Settlement Amount, Allergan's obligations under Section
            3.3(g) and Section 3.3(h) of the MPA shall be fully satisfied.

         3. Payment. Within thirty (30) days following the Effective Date, Allergan shall pay Teva the
            sum of US $700,000,000 (the "Settlement Amount"). The Settlement Amount shall be paid
            by wire transfer to the following Teva account:

                       MIZRAHI TEFAHOT BANK LTD IL92 0204 6100 0000 0198 781
                       Main Branch, Tel Aviv
                       Branch No: 46 1
                       AccountNo: 198781



                                                        2
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                      ALLERGAN_MDL_SUPP_00000133



CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                               A LLERGAN_M DL_01396688
          Case: 1:17-md-02804-DAP Doc #: 1909-4 Filed: 07/19/19 4 of 15. PageID #: 87663




                        Swift: MIZBILIT
                        Beneficiary: Teva Pharmaceutical Industries Ltd.

         4. Agreed Liabilities and Indemnification; Third Party Claim Indemnification
            Procedures. Teva agrees, on behalf of itself and each of its successors-in-interest and
            assigns, that it shall assume, and shall be or become responsible for (i) any Liabilities or
            Losses arising from the Third Patty Claims listed on Exhibit A hereto, (ii) any Liabilities or
            Losses arising from the Third Party Claims listed on Exhibit B hereto or arising from any
            other Third Party Claim, in each case to the extent such Liabilities or Losses are based upon
            generic opioid drugs that are Products, and (iii) any Liabilities, Losses or Claims that are,
            directly or indirectly, jointly or severally, asseited against or imposed on Allergan, its
            respective Affiliates and their respective officers, directors, employees, agents, successors
            and permitted assigns (the "Allergan Parties") to the extent such Liabilities, Losses or Claims
            are based on parent or control liability or a substanti ally similar theory in connection with
            any Proceeding involving (I) a member of the Transferred Group and (2) a Product or the
            Business (collectively, (i), (ii) and (iii), the "Teva Agreed Liabilities"). For the avoidance of
            doubt, any Liabilities or Losses arising from the Third Patty Claims listed on Exhibit B
            hereto or arising from any other Third Pmty Claim, in each case to the extent such Liabilities
            or Losses are based upon branded opioid drugs of the Retained Business that are not
            Products, are Excluded Liabilities under the MPA for which Teva is entitled to
            indemnification under Section 12.2(a)(iii) of the MPA. Teva further agrees that it will
            indemnify, defend and hold harmless the Allergan Parties, from, against and in respect of any
            and all Losses imposed on, sustained, incurred or suffered by, or asse,ted against, any of the
            Allergan Parties, whether in respect of third party claims, claims between the Parties, or
            otherwise, directly or indirectly relating to, arising out of, resulting from, based upon the
            underlying facts of, with respect to or by reason of the Teva Agreed Liabilities. Teva shall
            have 90 days from the Effective Date to notify AIJergan that it desires to defend AIJergan
            against any of the matters listed on Exhibit A hereto in accordance with the terms of Section
            12.4 of the MPA. Unless othe1wise agreed by the Parties, (i) Allergan shall be responsible
            for the defense of Third Patty Claims involving opioid drugs to the extent such Third Party
            Claims are based upon branded opioid drugs of the Retained Business that are not Products
            and (ii) Teva shall be responsible for the defense of Third Party Claims involving opioid
            drugs to the extent such Third Party Claims are based upon generic opioid drugs that are
            Products. In the case of Third Patty Claims that involve both (i) branded opioid drugs of the
            Retained Business that are not Products and (ii) generic opioid drugs that are Products, the
            Parties shall (x) each be responsible for the defense of such Third Party Claims in accordance
            with the immediately prior sentence and (y) cooperate with each other to enable the proper
            and adequate defense of such Third Party Claim. Each Party further agrees to provide the
            other Party by no later than February 28, 2018 a supplemental list which includes all
            additional known Third Party Claims based upon opioid drugs received by such Party on or
            before February 25, 2018 ("Supplemental Opioid Case List"), which shall be in substantially
            the same format as Exhibit B; any Third Party Claims appearing on Exhibit B (or the
            Supplemental Opioid Case List) shall be deemed to have been notified by each Pmty in
            compliance with Section 12.4 of the MPA. On or before the first Business Day of each
            month beginning after March 31, 2018, each Patty shall provide the other Patty with a list of
            additional Third Party Claims based upon opioid drugs that have been filed and served upon
            the Party on or prior to the third to last Business Day of the prior month ("Monthly Opioid


                                                          3
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                        ALLERGAN_MDL_SUPP_00000134



CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                  ALLERGAN_M DL_01396689
          Case: 1:17-md-02804-DAP Doc #: 1909-4 Filed: 07/19/19 5 of 15. PageID #: 87664




            Case List"). The Monthly Opioid Case List shall be in substantially the same fotmat as
            Exhibit B and the Supplemental Opioid Case List, and each Party may request a copy of a
            complaint listed thereon. The Paiiies' respective rights and obligations pursuant to Section
            12.4 of the MPA shall othe1wise remain unchanged, including but not limited to the Parties'
            obligations to cooperate following the date hereof to ensure the proper and adequate defense
            of a Third Party Claim.

         5. Mutual Releases.

               (a)    Teva, for itself and its past and present parents, subsidiaries, affiliates, directors,
                      managers, officers, shareholders, employees, attorneys, agents, representatives,
                      predecessors, successors and assigns, hereby fully and forever releases and
                      discharges Allergan and its past and present parents, subsidiaries, affiliates,
                      directors, managers, officers, shareholders, employees, attorneys, agents,
                      representatives, predecessors, successors and assigns, from any and all claims,
                      counterclaims, demands, damages, debts, liabilities, attorneys' fees, actions,
                      causes of action, obligations and demands whatsoever, whether fixed or
                      contingent, at law or in equity, and now known or unknown (each, a "Claim"), (i)
                      arising from or in any way relating to (A) the Working Capital Dispute, (B) the
                      Teva Indemnification Claims (except for any Liabilities or Losses arising from
                      the Third Party Claims listed on Exhibit B hereto or arising from any other Third
                      Pai·ty Claim, in each case to the extent such Liabilities or Losses are based upon
                      branded opioid drugs of the Retained Business that are not Products), (C) the
                      Teva Agreed Liabilities, (D) any breach or alleged breach by Allergan of any
                      representation or warranty contained in the MPA, (E) any breach or alleged
                      breach by Allergan of any covenant in the MP A that was intended to be
                      performed by Allergan or its Affiliates on or prior to the Closing, (F) any breach
                      or alleged breach by Allergan prior to the date hereof of any covenant in the MPA
                      that was intended to be perfonned by Allergan or its Affiliates after the Closing
                      (an "Allergan Post-Closing, Pre-Settlement Covenant Breach") other than any
                      Allergan Post-Closing, Pre-Settlement Covenant Breach the material underlying
                      facts of which are unknown to Teva as of the date hereof or (G) the historical
                      financ ial statem ents of the Business or the Transfe1Ted Group, including any
                      Claim that such financial statements do not comply with U.S. GAAP or any other
                      applicable accounting standards or Laws, or (ii) for any Losses resulting from any
                      potential Claims that are referenced iJ1 the Submissions (collectively, the "Teva
                      Released Claims").

               (b)    Allergan, for itself and its past and present parents, subsidiaries, affiliates,
                      directors, managers, officers, shareholders, members, employees, attorneys,
                      agents, representatives, predecessors, successors and assigns, hereby fully and
                      forever releases and discharges Teva and its past and present parents, subsidiaries,
                      affiliates, directors, managers, officers, shareholders, employees, attorneys,
                      agents, representatives, predecessors, successors and assigns, from any and all
                      Claims (i) arising from or in any way relating to (A) the Working Capital Dispute,
                      (B) the Direct C la ims specified in the November 2017 Notice, (C) the Third Party
                      Claims for indemnification listed on Exhibit C hereto, (D) any breach or alleged


                                                        4
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                        ALLERGAN_MDL_SUPP_00000135



CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                 A LLERGAN_M DL_01396690
          Case: 1:17-md-02804-DAP Doc #: 1909-4 Filed: 07/19/19 6 of 15. PageID #: 87665




                     breach by Teva of any representation or warranty contained in the MPA, (E) any
                     breach or alleged breach by Teva of any covenant in the MPA that was intended
                     to be performed by Teva or its Affiliates on or prior to the Closing or (F) any
                     breach or alleged breach by Teva prior to the date hereof of any covenant in the
                     MPA that was intended to be perfom1ed by Teva or its Affiliates after the Closing
                     (a "Teva Post-Closing, Pre-Settlement Covenant Breach") other than any Teva
                     Post-Closing, Pre-Settlement Covenant Breach the material underlying facts of
                     which are unknown to Allergan as of the date hereof, or (ii) for any Losses
                     resulting from any potential Claims that are referenced in the Submissions
                     (collectively, the "Allergan Released Claims").

               (c)   Except as provided herein, (i) Teva shall continue to have rights to
                     indemnification under Section 12.2(a)(ii) and Section 12.2(a)(iii) of the MPA; and
                     (ii) Allergan shall continue to have rights to indemnification under Section
                     12.3(a)(ii), Section l 2.3(a)(iii) and Section 12.3(a)(iv) of the MPA. For the
                     avoidance of doubt, (i) Teva shall be prohibited from asserting any of the Teva
                     Released Claims as Claims under Section l 2.2(a)(iii) of the MP A, (ii) Allergan
                     shall be prohibited from asserting any of the A llergan Released Claims as Claims
                     under Section 12.3(a)(iii) or Section 12.3(a)(iv) of the MPA and (iii) the rights
                     and obligations of the Parties under Section 9 .1 of the MPA shall remain in effect.

               (d)   The Parties acknowledge that the releases in this Agreement may include a release
                     of claims, counterclaims, demands, damages, debts, li abilities, attorneys' fees,
                     actions, causes of action, obligations and demands whatsoever, whether fixed or
                     contingent, at law or in equity that are unknown or unsuspected. The Parties
                     hereby waive any common law or statutory doctrine or provision that limits the
                     effect of a release of unknown or unsuspected claims, counterclaims, demands,
                     damages, debts, liabilities, attorneys' fees, actions, causes of action, obligations
                     and demands whatsoever, whether fixed or contingent, at law or in equity. The
                     releases in this Agreement are to be interpreted as broadly as the law allows.

               (e)   Teva represents and warrants to Allergan that no Buyer Indemnified Patty has
                     received any Third Party Claim against a Buyer Indemnified Party other than (i)
                     the Teva Indemnification Claims and (ii) any Third Party Claims based upon any
                     branded or generic opioid drugs.

               (f)   Allergan represents and warrants to Teva that no Seller Indemnified Party has
                     received any Third Party Clain1 against a Seller Indemnified Party other than (i)
                     the Allergan Indemnification Claims and ( ii) the Third Party C laims listed on
                     Exhibit A or Exhibit B hereto and any Third Party Claims based upon any
                     branded or generic opioid drngs.

         6. Covenant Not to Sue and Agreement to Indemnify.

               (a)   Teva agrees, on behalf of itself and each of its current and former directors,
                     officers, employees, representatives, agents, controlling entities or persons,
                     predecessors or successors-in-interest and assigns, (i) that it w ill neither initiate



                                                       5
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                      ALLERGAN_MDL_SUPP_00000136



CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                A LLERGAN_M DL_01396691
          Case: 1:17-md-02804-DAP Doc #: 1909-4 Filed: 07/19/19 7 of 15. PageID #: 87666




                      nor continue any claims, suits, actions, arbitrations or proceedings that seek any
                      relief based upon the Teva Released Claims or the Teva Agreed Liabilities and
                      (ii) that it will not assign or otherwise transfer the Teva Released Claims to any
                      party. Teva further agrees that it will indemnify Allergan for any and all costs,
                      charges or expenses, including but not limited to reasonable attorneys' fees,
                      incurred in connection with any breach of this Section 6(a).

                (b)   Allergan agrees, on behalf of itself and each of its current and former directors,
                      officers, employees, representatives, agents, controlling entities or persons,
                      predecessors or successors-in-interest and assigns, (i) that it will neither initiate
                      nor continue any claims, suits, actions, arbitrations or proceedings that seek any
                      relief based upon the Allergan Released Claims and (ii) that it will not assign or
                      othe1wise transfer the Allergan Released Claims to any party. Allergan fm1her
                      agrees that it will indemnify Teva for any and all costs, charges or expenses,
                      including but not limited to reasonable attorneys' fees, incurred in connection
                      with any breach of this Section 6(b).

         7. Representations and Warranties of the Parties. The Parties represent and warrant to one
            another that:

                (a)   Such Party has the legal right, capacity and authority to enter into this Agreement;

                (b)   Such Pat1y has taken all necessary corporate and legal actions, as applicable, to
                      duly approve the making and performance of this Agreement;

                (c)   This Agreement has been validly executed and delivered by such Party and
                      constitutes its valid and binding obligation, enforceable against the Patty in
                      accordance with the terms hereof;

                (d)   Neither the execution nor perfom1ance of this Agreement by such Party
                      constitutes or will constitute a violation or breach of such Party's charter or
                      bylaws (or comparable documents, as applicable);

                (e)   Neither the execution nor the performance of this Agreement will constitute a
                      violation or breach of any law, order, injunction, judgment, statute or regulation
                      applicable to such Party or constitutes or will constitute a material default (or
                      would, with the passage of time or the giving of notice, or both, constitute such a
                      default) under any matetial contract, agreement or other instrnment to which such
                      Pa1ty is a party or by which it is bound;

                (f)   Such Patty has not relied upon any document, statement, representation, promise,
                      inducement, understanding or infonnation made or provided by any other Party or
                      its representatives except as expressly set fo1th in this Agreement, and such Patty
                      has relied solely upon its own due diligence and independent judgment
                      concerning this Agreement and the Party's decision to enter into this Agreement;

                (g)   Such Party has read this Agreement and fully understands all of its terms,
                      covenants, conditions, provisions and obligations and such Party believes that this


                                                        6
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                      ALLERGAN_MDL_SUPP_0 0 0001 3 7



CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                ALLERGAN_M DL_01396692
          Case: 1:17-md-02804-DAP Doc #: 1909-4 Filed: 07/19/19 8 of 15. PageID #: 87667




                        Agreement is a fair, just and reasonable resolution of the Wor.lcing Capital
                        Dispute, the Teva Indemnification Claims and the Allergan Indemnification
                        Claims;

                (h)     Such Party specifically acknowledges that this Agreement shall not be subject to
                        any claim of mistake of fact, that it expresses a full and complete settlement
                        between the Parties, and that regardless of the adequacy or inadequacy of the
                        consideration described herein, this Agreement is intended to be a final and
                        complete settlement of claims and obligations between the Parties described
                        herein as covered by this Agreement; and

                (i)     Such Party has not assigned or transferred any Claim or interest in any claim that
                        is the subject of the releases in this Agreement.

         8. Multiple Counterparts. This Agreement: (i) may be executed in one or more counterparts,
            each of which shall be deemed an original but all of which together will constitute one and
            the same instrument and shall be binding upon the person or entity executing the same; and
            (ii) may be executed by a signature page delivered by facsimile or email, in which case the
            person or entity so executing this Agreement shall promptly thereafter deliver its originally
            executed signature page (but the failure to deliver an original shall not affect the binding
            nature of such person's or entity's signature).

         9. Governing Law. This Agreement shall be governed by the laws of the State of New York
            without regard to its conflict of laws provisions.

         10. Dispute Resolution. Any dispute, controversy or claim relating to the interpretation or
             construction of Sections 4 or 5 of this Agreement, or to the determination of whether a claim
             for indemnification made by a Party under Sections 12.2 or 12 .3 of the MPA is, in fact,
             subject to indemnification under the MPA, shall be finally resolved by arbitration in
             accordance with the International Institute for Conflict Prevention and Resolution ("CPR")
             Rules for Non-Administered Arbitration ("Rules") as in effect on the date of the Agreement,
             or such other rules and procedures as the Parties may agree. The arbitration will be
             conducted before a panel of three arbitrators, to be selected in accordance with the screened
             selection process provided in the Rules. The place of arbitration shall be New York, New
             York. The language of the arbitration shall be English. Except as otherwise agreed by the
             Parties, the arbitrators shall issue an award within ninety (90) days of the fil ing of the notice
             of intention to arbitrate, and the arbitrators shall agree to comply with this schedule before
             accepting appointment. Any claims for indemnification sought by Allergan involving
             allegations against the Transferred Group that relate to Claims based upon (i) contracts for
             services related to generic drugs that are Products or (ii) alleged or actual violations of
             competition or antitrnst Laws in the generic drug market involving Products (other than any
             such violation of competition or antitrnst Laws relating to any litigation settlement agreement
             between Allergan and Teva (or between their respective Affiliates)), shall be subject to a
             rebuttable presumption by the arbitrators that such claims are subject to indemnification by
             Teva under the MPA. Any claims for indemnification sought by Teva involving allegations
             against the Transfen-ed Group that relate to Claims based upon (i) contracts for services
             related to branded drugs of the Retained Business that are not Products or (ii) alleged or


                                                           7
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                          ALLERGAN_MDL_SUPP_00000138



CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                   A LLERGAN_M DL_01396693
          Case: 1:17-md-02804-DAP Doc #: 1909-4 Filed: 07/19/19 9 of 15. PageID #: 87668




            actual violations of competition or antitrust Laws in the branded drug market involving
            products of the Retained Business that are not Products (other than any such violation of
            competition or antitrust Laws relating to any litigation settlement agreement between
            Allergan and T eva (or between their respective Affiliates)), shall be subject to a rebuttable
            presumption by the arbitrators that such claims are subject to indemnification by Allergan
            under the MP A. In the event the arbitrators determine that the rebuttable presumption is
            inapplicable, the arbitrators will then proceed to determine whether the claim for
            indemnification is subject to indemnification under the MP A. Any award issued by the
            arbitrators shall be final, binding and conclusive on the Parties hereto and shall constitute an
            arbitral award upon which a judgment may be entered in any court having jurisdiction
            thereof. The prevailing party in any arbitration conducted under this provision will be
            entitled to an award of all fees, costs and expenses of the arbitrators and the arbitration
            (including, for the avoidance of doubt, reasonable attorneys' fees).

         11. No Effect on Manufacturing Agreements. Nothing in this Agreement shall modify or in
             any way affect the part ies' rights and obligations under any manufacturing or supply
             agreements between Allergan and Teva (or between their respective Affiliates).

         12. Kadian Agreement. T eva shall, and shall cause its Controlled Affiliates to, (i) cooperate
             with Allergan to assign the Asset Purchase Agreement, dated December 17, 2008, by and
             between Actavis Elizabeth, LLC and King Phannaceuticals, Inc. (the " Kadian Agreement")
             to Allergan or its Affiliate, such assignment to be effectuated by an agreement mutually
             satisfactory to Teva and Allergan, and (ii) prior to the assignment of the Kadian Agreement
             to Allergan or its Affiliate, cooperate with Allergan to provide Allergan with the benefits of
             the Kadian Agreement, including cooperation in asserting any indemnification rights of
             Actavis Elizabeth, LLC (or its successors and assigns) under the Kadian Agreement.
             Following the assignment of the Kadian Agreement to Allergan or its Affiliate, Allergan
             shall, and shall cause its ControJJed Affiliates to, cooperate with Teva to provide Teva with
             the benefits of the Kadian Agreement that relate to the authorized generic of Kadian®,
             including cooperation in asserting any indemnification rights of Teva or its Controlled
             Affiliates under the Kadian Agreement with respect to any Liabilities or Losses to the extent
             such Liabilities or Losses are based upon or related to the authorized generic of Kadian®.

         13. No Modification. This Agreement may only be modified or amended by a writing dated
             after the date hereof and signed by each of the Parties.

         14. Construction.

                (a)    This Agreement shall be construed so that the word "including" means "including
                       without limitation;" and the singular shall include the plural and vice versa.

                (b)    For the avoidance of doubt, "Products" as used in this Agreement shall exclude
                       any products that are Excluded Assets.

                (c)    Titles or headings contained in this Agreement are included only for ease of
                       reference and will have no substantive effect.




                                                         8
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                       ALLERGAN_MDL_SUPP_00000139



CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                 ALLERGAN_M DL_01396694
         Case: 1:17-md-02804-DAP Doc #: 1909-4 Filed: 07/19/19 10 of 15. PageID #: 87669




                (d)     None of the Parties will be entitled to have any language contai ned in this
                        Agreement construed against another because of the identity of the drafter.

         15. Confidentialitv. Neither of the Parties hereto shall issue, make or cause to be made any
             disclosures regarding the terms of this Agreement without the written consent of the other
             Party, except that the Parties (i) may disclose the tenns of this Agreement to attorneys,
             accountants and other advisors retained by the Party; (ii) may make such disclosures as may
             be required by applicable laws or regulations, provided that the disclosing Party notifies the
             other Party in writing of any such requirement and the intended disclosure at least two (2)
             Business Days in advance of any such disclosure; and (iii) may disclose that they entered into
             a "Settlement Agreement" without disclosing its terms. Either of the Parties may d isclose the
             tenns and conditions of this Agreement if such Party receives a subpoena or other process or
             order to produce this Agreement, provided that such Party shall, prior to any disclosure to
             any third party, promptly notify the other Parties to this Agreement so that each Party has a
             reasonable opportunity to respond to such subpoena, process or order. The Party receiving a
             subpoena, process or order shall (in the first instance) take no action contrary to the
             confidentiality provisions set fo11h above, and shall make reasonable efforts to respond only
             subject to the confidentiality designation available under a protective order in litigation. The
             Party objecting shall have the burden of defending against such subpoena, process or order.
             The Patty receiving the subpoena, process or order shall be entitled to comply with it, except
             to the extent that any other Party is successful in obtaining an order modifying or quashing it.

         16. Entire Agreement.      This Agreement constitutes the ful l and entire understanding and
            agreement among the Parties with regard to the subject hereof and supersedes any prior
            negotiations, representations or agreements, written or oral, with respect to such subject
            matter; provided, however, that nothing herein shall amend, modify, or supersede the Tax
            Settlement and Resolution Agreement dated October 15, 2017, which the Parties intend to
            remain in full force and effect.

         17. Severability. If any term or provision of this Agreement is held to be invalid, illegal or
             contrary to public policy, such term or provision shall be modified to the extent necessary to
             be valid and enforceable and shall be enforced as modified; provided, however, that if no
             modification is possible such provision shall be deemed stricken from this Agreement. In
             any case, the remaining provisions of this Agreement shall not be affected thereby.

         18. No Waiver. Any waiver of any Party's rights under this Agreement is only effective if in
             writing signed by the Party to be charged or its duly authorized representative, and any such
             waiver shall only be effective for the specific matter waived and shall not be deemed to apply
             to any other conduct, provision or other matter.

         19. No Assignment. The Parties agree that they have not, and will not, sell, transfer or assign, or
             purport to sell, transfer or assign, any Claim or interest in any claim that is the subject of the
             releases in this Agreement.

         20. Allocation of Global Purchase Price. W ithin thirty (30) days following the Effective Date,
             Allergan shall deliver to Teva the final allocation of the Global Pmchase Price (which, for
             the avoidance of doubt, shall be reduced by the entire amount of the Settlement Payment)



                                                           9
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                          ALLERGAN_MDL_SUPP_00000140



CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                   A LLERGAN_M DL_01396695
         Case: 1:17-md-02804-DAP Doc #: 1909-4 Filed: 07/19/19 11 of 15. PageID #: 87670




            among the Acquired Assets (the "Final PPA"). Teva agrees to treat the Final PPA as the
            Global Purchase Price A llocation in accordance with the MP A.

         21. Notices. All notices and other communications hereunder shall be in writing, shall be sent
             by Federal Express or other expedited courier service, and shall be deemed effective and duly
             given upon delivery to the other Party at the following addresses or to such other addresses as
             the Parties may notify one another of in accordance with the provision of this Section:

                Ifto Teva:

                        Teva Pharmaceutical Industries Ltd.
                        5 Basel Street
                        Petach Tikva 4951033
                        Israel
                        Attention: Chief Legal Officer
                        Facsimile: + 11 972 3 926-7896

                With a copy (which does not constitute notice) to:

                        Vinson & Elkins LLP
                        666 Fifth Avenue
                        New York, NY 10103
                        Attention: Ari Bem1an
                        Facsimile: + 1 (917) 849-5368

                If to Allergan:

                        Allergan PLC
                        Clonshaugh Business and Technology Park
                        Coolock
                        Dublin, D 17 E400
                        Ireland
                        Attention: Chief Legal Officer and Secretary
                        Facsimile: + 1 (862) 261-8223

                With copies to (which shall not constitute notice):

                        Allergan plc
                        5 Giralda Farms
                        Madison, New Jersey 07940
                        Attention: Chief Legal Officer and Secretary
                        Facsimile: + 1 (862) 261-8223
                and:
                        Latham & Watkins LLP
                        885 Third Avenue
                        New York, NY 10022-4834


                                                         10
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                        ALLERGAN_MDL_SUPP_00000141



CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                 A LLERGAN_M DL_01396696
         Case: 1:17-md-02804-DAP Doc #: 1909-4 Filed: 07/19/19 12 of 15. PageID #: 87671




                       Attention: Charles K. Ruck
                                  R. Scott Shean
                       Facsimile: +l (212) 751-4864

         22. Independent Legal Advice. This Agreement was negotiated between the Parties at ann's
             length. Teva and Allergan acknowledge that they have been advised by their own
             independently selected counsel and other advisors in connection with this Agreement. Teva
             and Allergan further acknowledge that they enter into this Agreement solely on the basis of
             advice from independently selected counsel and on the basis of their own independent
             investigation of all of the facts, laws and circumstances material to this Agreement or any
             provision hereof, and not in any manner or to any degree based upon any statement or
             omission by any other paiiy hereto or its counsel. As such, Teva and Allergan agree that
             they shall have no basis to challenge, set aside or void this Agreement on grounds of fraud,
             fraudulent inducement or related legal theories.

                                          [SIGNATURE PAGES FOLLOW]




                                                       11
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                     ALLERGAN_MDL_SUPP_00000142



CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                              ALLERGAN_M DL_01396697
        Case: 1:17-md-02804-DAP Doc #: 1909-4 Filed: 07/19/19 13 of 15. PageID #: 87672




                   JN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be du ly
           executed in their respective names by their duly authorized representatives as of the date and year
           written below.




           TEVA PHA              CEUTICA L INDUSTRIES,      ALLE RGAN PLC
           LTD.


                                                            Name: _ _ _ __ __ _ _ __
                                                            Date:_ _ __ __ __ _ _ _


           TEVA Plli.}~ACEUTICAL INDUST RI ES,
           LTD.         .I \
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           Date: _ . . .J'a-_n _u a_ ry
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                            SIGNATURE PAGE TO SElTLEMENT AGREE!vffiNT AND M UTUAL RELEASES




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                           ALLERGAN_MDL_SUPP_00000143



CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                     ALLERGAN_MDL_01396698
          Case: 1:17-md-02804-DAP Doc #: 1909-4 Filed: 07/19/19 14 of 15. PageID #: 87673




                 IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be duly
         executed in their respective names by their duly authorized representatives as of the date and year
         written below.



         TEVA PHARMACEUTICAL INDUSTRIES,                  ALLERGAN PLC
         LTD.


         Name:
                  -----------                                  ~
                                                          Name: f!.1<JtF l....<jt1t./ o    -'·-i. eirr~I, ~et-~-/2,._r.
                                                                                          i'M:
         Date:
                  -----------                             Date:      January 31, 2018                                 I

         TEVA PHARMACEUTICAL rNDUSTRIES,
         LTD.


         Name:
                  -----------
          Date:
                  -----------




                    SIGNATURE PAG E TO SETTI.,EMENT AGREEMENT AND M UTUAL R ELEASES
CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                             ALLERGAN_MDL_SUPP _00000144



CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                        ALLERGAN_MDL_01396699
         Case: 1:17-md-02804-DAP Doc #: 1909-4 Filed: 07/19/19 15 of 15. PageID #: 87674




                                                    Exhibit A

            •   U.K. Competition and Markets Authority investigations relating to hydrocortisone tablets
                and any related Claims, including any related Claims by the National Health Service

            •   U.K. Competition and Markets Authority investigations relating to carbimazole and any
                related Claims, including any related Claims by the National Health Service

            •   U.K. Competition and Markets Authority investigations relating to oortriptyline and any
                related Claims, including any related Claims by the National Health Service

            •   U.K. Competition and Markets Authority investigations relating to fludrocortisone
                acetate and any related Claims, including any related Claims by the National Health
                Service

            •   U.K. Competition and Markets Authority investigations relating to dexamethasone and
                any related Claims, including any related Claims by the National Health Service

            •   U.K. Competition and Markets Authority investigations relating to amantadine and any
                related Claims, including any related Claims by the National Health Service

            •   Lanoel v. Teva Pharmaceutical Industries Ltd., et al., Derivative Action No. 2453-03-17
                (Tel Aviv)

            •   Federal Trade Commission v. Allergan plc, et al., Case No. 3: 17-cv-00312 (N.D. Cal.)

            •   Floyd v. Feygin, et al., Case No. 507458/2017 (N.Y. Sup. Ct.)

            •   State of California v. Watson Laboratories. Inc., et al., Case No. 3: l 7-CV-00562 (N.D.
                Cal.)

            •   Benta SAL v. Actavis (MEEA) FZE, et al. (Lebanon)




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                       ALLERGAN_MDL_SUPP_0 0 000145



CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                ALLERGAN_M DL_01396700
